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                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND


              CASA, INC. et al.,

                              Plaintiffs,

                      v.
                                                                     Case No.: 8:25-cv-00201-DLB
              DONALD J. TRUMP et al.,

                              Defendants.




                                                 DECLARATION OF JUANA


                     I, Juana, based on my personal knowledge, hereby submit this declaration

            under 28 U.S.C. § 1746 and state the following:

                1. I submit this sworn declaration in further support of my prior statement in this case.

                2. I volunteered to represent the class. I want to bring this lawsuit

                     not only for myself and my baby, but for all the other babies and immigrants

                     who came to this country seeking a better future for their children. That is why I joined

                     the original lawsuit.

                3. I want to make sure these children do not face discrimination or have their rights denied.

            I declare under penalty of perjury that the foregoing is true and correct.

            DATED:             24/6/2025



                                                                                                            Juana
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                                         I                                                   I
                                             Phone +1 (877) 731-6332
                                                                                                 22 Goddard Circle
                                             Email: service@languageconnections.com
                                                                                                 Brookline, MA 02445
                                             Website: www.languageconnections.com

 translation I interpreting I training




STATE OF: Massachusetts

COUNTY OF: Suffolk



                                         CERTIFICATE OF ACCURACY




       Magdalena Español, on behalf of Language Connections, certifies:



      1. That our translator(s) are fluent in the English and Spanish languages.


      2. That we have made the attached translation of the below mentioned original document(s) from
      Spanish into English and hereby certify that the same is a true and complete translation to the best
      of our translator(s) knowledge, ability, and belief.



      3.   Document name:

              •   Juana’s Declaration; Case No.: 8:25-cv-00201-DLB; Dated: June 24, 2025.




                                                                                Signature:


                                                                                        Project Manager
                                                                                          6/26/2025
